                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MISSOURI
                                   AT KANSAS CITY

 BILLIE RODRIGUEZ, DANIEL
 ERWIN, MICHAEL B. ACKERMAN,
 and KYLE FOREMAN, individually
 and on behalf of all others similarly
 situated,

                       Plaintiffs,
        v.

 EXXON MOBIL CORPORATION,
 CHEVRON USA INC., CHEVRON                          Case No.: 4:24-cv-00803-SRB
 PHILLIPS CHEMICAL CORPORATION,
 DUPONT de NEMOURS, INC., DUPONT
 CORPORATION, CELANESE
 CORPORATION, DOW INC., DOW
 CHEMICAL COMPANY, EASTMAN
 CHEMICAL COMPANY,
 LYONDELLBASELL INDUSTRIES N.V.,
 and AMERICAN CHEMISTRY COUNCIL,

                       Defendants.


    CONSENT MOTION TO EXTEND DEFENDANTS DOW INC.’S AND DOW
    CHEMICAL COMPANY’S TIME TO ANSWER, MOVE, OR OTHERWISE
              RESPOND TO PLAINTIFFS’ COMPLAINT

       COME NOW Dow Inc. and Dow Chemical Company (hereinafter “Dow”) by and

through their undersigned counsel and move this Court for entry of an Order extending Dow’s

deadline to answer, move, or otherwise respond to Plaintiffs’ Complaint for 27 days, to and

including February 10, 2025. Counsel for Plaintiffs has consented to the relief requested in

this motion.

       The Memorandum in Support of this Motion is incorporated and set forth below.




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                               MEMORANDUM IN SUPPORT

       In support of this motion, Dow states as follows:

       1.      Plaintiffs and Dow have conferred regarding the relief requested herein on

January 7, 2025.

       2.      Dow was served with process on December 24, 2024. The current deadline to

answer, move, or otherwise respond to Plaintiffs’ Complaint is January 14, 2025. The

consented 27-day extension would extend the response date to February 10, 2025.

       3.      Plaintiffs’ Complaint contains 45 counts, alleges two nationwide putative

classes and 35 putative state classes, avers at least 45 different legal theories, and is 92 pages

long. (Dkt. No. 1.) Due to the timing of service, a few days prior to commencement of the

Chanukah, Christmas, Kwanza, and New Year holidays (“holidays”), and the complexity of

Plaintiffs’ Complaint, Dow requests additional time to prepare its response to Plaintiffs’

Complaint.

       4.      This consent motion is not filed for purposes of delay, but rather in a good faith

effort to extend the current responsive pleading deadline in light of the reasons outlined above.

       WHEREFORE, Dow respectfully prays that the Court enter an Order extending Dow’s

time to answer or otherwise respond to Plaintiffs’ Complaint, by a period of 27 days to and

including February 10, 2025.



Dated: January 9, 2025                           Respectfully submitted,

                                                BRYAN CAVE LEIGHTON PAISNER LLP

                                                 /s/ Robert J. Hoffman
                                                 Robert J. Hoffman MO# 76565
                                                 Robert M. Thompson MO# 38156
                                                 Grace E. Martinez MO# 70921



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                                               One Kansas City Place
                                               1200 Main Street, Suite 3800
                                               Kansas City, MO 64105-2122
                                               Telephone:(816)-374-3229
                                               Telecopier:(816)-374-3300
                                               bob.hoffman@bclplaw.com
                                               rmthompson@bclplaw.com
                                               grace.martinez@bclplaw.com

                                               Attorneys for the Dow Defendants




                              CERTIFICATE OF SERVICE

       I hereby certify that on this 9th day of January, 2025 a copy of the above pleading was
served via the District Court ECM/ECF system on all counsel of record.


                                                   /s/ Robert J. Hoffman
                                                   Robert J. Hoffman




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